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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Kim Young, et al.
                               Plaintiff,
v.                                                 Case No.: 1:06−cv−00552
                                                   Honorable Matthew F. Kennelly
County of Cook, et al.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 1, 2018:


       MINUTE entry before the Honorable Matthew F. Kennelly: The Court overrules
the "writs of execution" and requests for payment made by Olajuwon Claiborne, Michael
Mejia,James Demus, and Jesus Cortez, for the reasons stated in the response filed by
counsel for the plaintiff class. Class counsel are directed to mail a copy of this order to
Messrs. Claiborne, Mejia, Demus, and Cortez. (mk)




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